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IN THE UNITED STATES DISTRICT COURT dr - D.C,
FoR THE WESTERN DISTRICT oF TENNESSEE 05 JUH w
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UNITED STATES OF AMER_ICA, L;'D fiat ii §,' )chiUé;OF
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Plaintiff,
v. No. 05-200]0 B
ALBERT KIN LEE,
Defendant.

 

ORDER DENYING DEFENDANT'S MOTION TO TRANSFER TRIAL
FOR CONVENIENCE

 

On April 6, 2005, this Court denied the motion of the Defendant, Albert Kin Lee, to dismiss
the indictment in this matter for lack of proper venue. Lee has been indicted for attempting to
persuade, induce, entice and coerce a l4-year-old female into traveling from the Western District of
Tennessee to the State of California for the purposes of engaging in sexual conduct, in violation of
18 U.S.C. § 2422. Upon finding venue proper in this district, the Court noted that the Defendant's
concerns regarding the location of relevant Witnesses and records did not negate venue but Would
more appropriately be the subject of a motion to transfer under Rule 21 of the F ederal Rules of
Criminal Procedure. That motion, seeking the transfer of this matter to the Northern District of
Ca]ifornia, is currently before the Court.

Fed. R. Crim. P. 21(b) provides that, "[u]pon the defendant's motion, the court may transfer
the proceeding, or one or more counts, against that defendant to another district for the convenience

of the parties and Witnesses and in the interest of justice." In Platt v. Minnesota Minin & Mf . Co.,

 

376 U.S. 240, 84 S.Ct. 769, li L.Ed.Zd 674 (1964), the Supreme Court cited With approval a list of

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factors pertinent to a determination of whether a case should be transferred "in the interest of
justice," including "(l) location of [the] defendant; (2) location of possible witnesses; (3) location
of events likely to be in issue; (4) location of documents and records likely to be involved; (5)
disruption of defendant's [life] unless the case is transferred; (6) expense to the parties,' (7) location
ofcounsel; (8) relative accessibility of place oftrial; (9) docket condition of each district or division
involved; and (10) any other special elements which might affect the transfer." Bl_a_t_t, 376 U.S. at
243-44, 84 S.Ct. at 771; § also United States v. Collins. No. 91-5215, 1992 WL 31302, at *4 (6th

Cir. Feb. 20, 1992); United States v. Ashland Oil lnc., 457 F.Supp. 661, 663 (W.D. Ky. 1978); 2

 

Charles Alan Wright, F ederal Practice and Procedure § 344 (3d ed. 2000). The burden rests on the
Defendant to demonstrate that transfer would serve the purposes of the Rule. United States v. Tripp,
Nos. 91-5129, 91-513(), 1991 WL 203756, at *5 (6tli Cir. Oct. 7, 1991). Whether to transfer a case
to another district lies within the discretion of the trial judge. M, 1992 WL 31302, at *4. It is
further within the Court's discretion to balance the Blatt factors and to determine which factors are
to be given greater weight. § "Ordinarily the various factors appear in combination, with some
pointing in favor of transfer and others against transfer." 2 Charles Alan Wright, s_upgl, at § 344.
In support of his motion, the Defendant contends that, at all times during the period in which
he and an FBI agent posing as a 14-year-old allegedly engaged in instant messaging, electronic mail
and telephone conversations, he, along with the electronic and telephonic communications devices
used to make those contacts, were physically located in the Northern District of California. ln
addition, the airline ticket allegedly purchased and forwarded to the Western District of Tennessee
was purchased on and forwarded to this district by way of a computer located in the Northern District

of Califomia. ln December 2004, the Defendant was met and interviewed at the San Francisco,

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California airport by agents from the FBl's San Francisco office. His vehicle, parked at the San
Francisco airport, was searched, along with his San Francisco home and Emeryville, California
office.

Lee also avers that virtually all possible witnesses for both parties are located in the San
Francisco Bay area, as is his counsel of choice, Garrick Lew. Moreover, the criminal docket in the
Northern District of California, according to Lee, moves cases to trial on average some six weeks
faster than the Westem District of Tennessee. Further, he cites the ill health of his aging parents,
both of whom live in California and require his regular assistance; and the hotel and travel expenses
to be incurred in connection with the numerous trips from California and Memphis that will be
necessary throughout the pendency of this matter. As a "special element" for purposes of the w
factors, the Defendant suggests the Govemment "artificially created" venue in this districtl

The Court recognizes at the outset that "[c]riminal defendants have no constitutional right
to have a trial in their home districts, nor does the location of the defendant's home have independent
significance in determining whether transfer to that district would be in the interest of justice."
United States v. Zylstra, 713 F.2d 1332, 1336 (7th Cir.), c_erLM, 464 U.S. 965, 104 S.Ct. 403,
78 L.Ed.Zd 344 (1983) (internal quotation marks omitted); g _a_l_sg Hatt, 376 U.S. at 245-46, 84
S.Ct. at 772. In response to the motion, the Govemment advises the Court that the FBI task force
officers who conducted the undercover investigation and analysis of the electronic evidence are
located in Memphis. In addition to the evidence originating in this district, the Govemment also
states that other evidence has already been received from California and processed here. FBI agents
from the San Francisco office will be available for trial in the Western District of Tennessee. The

prosecution further points to Lee's communications to this district, including providing the minor

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female with his cellular telephone number and making interstate telephone calls to her in Mernphis.

In this case, the location of the Defendant, as well as the expense of travel and the effect on
his ability to care for his parents, weigh in his favor. Since the docket conditions in both districts
are relatively equal and Lee has counsel both here and in California, these factors militate to the
benefit of neither party. The "special elements" factor offers negligible assistance to the Defendant,
as the Court has already ruled that venue is proper in this district. The remaining §laj
considerations, including the location of witnesses, events in issue and documents, fall on the
Govemment's side of the scale. In so finding, the Court notes that, although the Defendant claims
that 11virtually all possible witnesses" are located in California, he does not identify them. ln
balancing the _Pl_att factors, and upon reviewing the particular facts of this case, the Court concludes
that the Defendant has failed to establish that transfer is appropriatel w U_rlitw,
223 F.3d 676, 685-86 (7th Cir. 2000) (denial of Rule 21 motion for transfer from Chicago to Puerto
Rico not an abuse of discretion where the alleged crimes were committed in Chicago, not Puerto
Rico, and most of the witnesses would be from Chicago, even though the defendant and his family
resided in Puerto Rico at the time of trial and the court acknowledged that a Chicago trial would
"impose extreme economic, emotional and logistic hardship on the defendant and his entire

family.“); United States v. Pemg, 152 F.3d 900, 904 (3d Cir. 1998), Lt_. denied, 525 U.S. 1168, 119

 

S.Ct. 1088, 143 L.Ed.2d 89 (1999) (no abuse of discretion in denial of motion for transfer where the
governments chief witnesses and the alleged victim were in Nebraska and the bulk of the

investigative work and most of the records Were there). Accordingly, the motion to transfer is

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DENIED.

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n srArEs DrsrchT JUDGE

D"ISIC COURT -wESERNT DSTRIC oFTENNESSEE

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Honorable J. Breen
US DISTRICT COURT

